  Fill in this information to identify the case:

               Blue Valley Surgical Associates
  Debtor name __________________________________________________________________

                                          Kansas City
  United States Bankruptcy Court for the:_______________________             Kansas
                                                                 District of ________
                                                                             (State)
  Case number (If known):     20-20222
                              _________________________                                                                              ! Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   !      No. Go to Part 2.                           See EX-AB-1-ALL, attached hereto
   !      Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   !      No. Go to Part 3.
                                                           None Identified by Debtor
   !      Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________

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  Official Form 206A/B                                    Schedule A/B: Assets         Real and Personal Property                              page 1
Debtor         _______________________________________________________                          Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

    ! No. Go to Part 4.                                  See EX-AB-3-BVSA, attached hereto
    ! Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........ #                $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........ #                $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    ! No. Go to Part 5.
                                                             None Identified by Debtor
    ! Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:

   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:
   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.


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Official Form 206A/B                                         Schedule A/B: Assets      Real and Personal Property                               page 2
Debtor          _______________________________________________________                   Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    ! No. Go to Part 6.                            See EX-AB-5-ALL, attached hereto
    ! Yes. Fill in the information below.
     General description                            Date of the last      Net book value of    Valuation method used         Current value of
                                                    physical inventory    debtor's interest    for current value             debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
    !     No
    !     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

    !     No
    !     Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    !     No
    !     Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    ! No. Go to Part 7.
                                                             None Identified by Debtor
    ! Yes. Fill in the information below.
      General description                                                 Net book value of    Valuation method used         Current value of debtor’s
                                                                          debtor's interest    for current value             interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________          $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed
   ______________________________________________________________          $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________       $______________________
                              Case 20-20219               Doc# 159-1          Filed 04/16/20        Page 3 of 38
Official Form 206A/B                                      Schedule A/B: Assets    Real and Personal Property                              page 3
Debtor         _______________________________________________________                        Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

    ! No
    ! Yes. Is any of the debtor’s property stored at the cooperative?
      ! No
      ! Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ! No
    ! Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

    ! No
    ! Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

    ! No
    ! Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ! No. Go to Part 8.                               See EX-AB-7-ALL, attached hereto
    ! Yes. Fill in the information below.

   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________     ____________________       $______________________

40. Office fixtures

   ______________________________________________________________              $________________     ____________________       $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________     ____________________       $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

    ! No
    ! Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    ! No
    ! Yes
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Official Form 206A/B                                       Schedule A/B: Assets       Real and Personal Property                              page 4
 Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    ! No. Go to Part 9.
                                                     See EX-AB-8-ALL, attached hereto
    ! Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
    !     No
    !     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    !     No
    !     Yes




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 Official Form 206A/B                                     Schedule A/B: Assets      Real and Personal Property                             page 5
Debtor          _______________________________________________________                          Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
    ! No. Go to Part 10.
                                                                 None Identified by Debtor
    ! Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.

    55.1________________________________________            _________________     $_______________      ____________________        $_____________________

    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

    55.4________________________________________            _________________     $_______________      ____________________        $_____________________

    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    !     No
    !     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    !     No
    !     Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    ! No. Go to Part 11.
                                                                 None Identified by Debtor
    ! Yes. Fill in the information below.
      General description                                                         Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
    ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




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Official Form 206A/B                                          Schedule A/B: Assets       Real and Personal Property                              page 6
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    !    No
    !    Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    !    No
    !    Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    !    No
    !    Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    !     No. Go to Part 12.
    !     Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                    _______________     –   __________________________         =#   $_____________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________

78. Total of Part 11.
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    !    No
    !    Yes
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Official Form 206A/B                                        Schedule A/B: Assets        Real and Personal Property                              page 7
Debtor            _______________________________________________________                                                 Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                       $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                           $_______________


83. Investments. Copy line 17, Part 4.                                                                   $_______________

84. Inventory. Copy line 23, Part 5.                                                                     $_______________

85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________


88. Real property. Copy line 56, Part 9. . ..................................................................................... #              $________________

89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________


90. All other assets. Copy line 78, Part 11.                                                        +    $_______________


91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                $________________




                                                                                                                                                                     See Attached Exs.
                                                                                                                                                                    $__________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................




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Official Form 206A/B                                                       Schedule A/B: Assets                Real and Personal Property                                   page 8
                                      .:/0,08

                               .:#+,#%#+11
3GL? # 8BCK CK ; DCKLCFA G@ LB? ;==GMFLK MK?> <P ;DD /?;DLB=;J? -?<LGJK$




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Case 20-20219   Doc# 159-1   Filed 04/16/20   Page 10 of 38
                                   .:/0,08

                           .:#+,#&#,97+
3GL? Q +EGMFL G@ ;==GMFLK J?=?CN;<D? J?HGJL?> <P -?<LGJK




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                                              .lhf+dl      .eem+ef    .e*ekh+dd     .e*gdm+im     .g*hhh+km
                                           .ei*mjm+hd       .jh+dd                               .ej*dgg+hd
                               .f*lii+dd    .l*mie+dd    .m*gmd+dd     .heg+dd     .fg*hmi+gi    .hi*edh+gi
                                            .h*edh+dd                                 .iie+dd     .h*jii+dd
                                                                                   .eh*jkg+kk    .eh*jkg+kk
                               .e*lef+dd    .l*fgk+dd    .e*ede+dd    .e*eff+dd    .jk*efm+mi    .km*hde+mi
                              .el*gff+dd   .hh*emk+mj   .if*lhd+mk   .eg*lfk+kk   .ggg*edh+jg   .hjf*fmg+gg
                                                                                      .hig+dd       .hig+dd
                                                          .fjk+dd                     .mei+kf     .e*elf+kf
                               .e*eff+dd                               .hig+dd      .h*jjj+il     .j*fhe+il
                                .hjf+dd     .f*dlf+dd    .e*dfj+dd                  .e*mgf+dd     .i*idf+dd
                                                            .fk+hh                                   .fk+hh
                                                           .hkh+dd     .hig+dd                      .mfk+dd
                                .gih+dd                                                             .gih+dd
                                                                                    .e*dgm+dg     .e*dgm+dg
                                                                                       .ek+kf        .ek+kf
                                           .ee*ekd+dd     .fjk+dd                   .f*hdj+dd    .eg*lhg+dd
                                            .e*iij+dd                               .e*eel+dd     .f*jkh+dd
                                               .ee+fj        .m+mg       .fk+ji        .lj+de       .egh+li
                              .ge*lff+dd   .fk*ekg+hj   .gh*dll+hh   .if*gjl+gf   .ikk*lml+di   .kfg*gid+fk
                               .e*gjj+dd     .ghj+ld                               .ii*feg+jd    .ij*mfj+hd
                                .fjk+dd      .kdj+dd     .e*jef+dd    .e*ejk+dd    .ih*dfj+lg    .ik*kkl+lg
                                             .hig+dd                                                .hig+dd
                                                                                   .eg*lmh+dd    .eg*lmh+dd
                                                                                    .h*fjj+jl     .h*fjj+jl
                                            .f*fei+mj    .e*dfm+dd     .hig+dd      .k*ffm+dd    .ed*mfj+mj
                                .hig+dd     .e*hgk+dd      .jjm+dd                 .eg*gdf+dd    .ei*lje+dd
                                           .ii*fjd+hd                                 .edd+dd    .ii*gjd+hd
                               .e*ejl+dd   .je*ell+ej   .ed*mlm+fj   .ee*eml+el   .ehk*egl+dj   .fge*jle+jj
                                                                                       .ed+me        .ed+me
                                .hig+dd    .ei*fgi+fl    .g*ded+dd     .hkg+id     .hi*mef+jm    .ji*dlh+hk
                                            .j*ide+dd     .gfj+lk     .e*lkg+dd    .jf*elj+dk    .kd*llj+mh
                                               .fe+fj                                                .fe+fj
                                            .g*glh+dd                                             .g*glh+dd
                               .i*kej+dd   .ff*klg+jl   .fk*kig+jk   .hg*feh+kf   .eif*kee+fh   .fif*ekm+ge
                                              .jjm+dd                                               .jjm+dd
                               .g*ggf+dd    .h*hme+kd    .f*dmk+dd     .iig+dd     .jd*imj+id    .ke*dkd+fd
                                            .e*elj+dd      .jjm+dd     .fjk+dd      .e*fgj+dd     .g*gil+dd
                                .hig+dd                                             .e*kjk+dd     .f*ffd+dd
                                                          .jjl+dd                                   .jjl+dd
                                                                                      .jjm+dd       .jjm+dd
                                                                                    .l*jfl+dd     .l*jfl+dd
                               .e*ehg+dd     .lle+dd     .e*glh+dd    .l*fei+dd    .ek*lki+dd    .fm*hml+dd
                                .kkh+dd     .g*glm+dd    .g*dil+ie                 .fh*mfj+ij    .gf*ehl+dk
                               .e*ldk+dd   .fh*mgd+ld    .g*ekm+ig     .ije+el     .he*eel+gk    .ke*imj+ll
                                            .k*gfj+gj                  .lfd+dd      .i*hhi+dd    .eg*ime+gj
                                                                      .e*kgl+dd     .f*lid+dd     .h*ill+dd
                                                          .jjm+dd                   .e*dfj+dd     .e*jmi+dd
                                                                                    .e*dfj+dd     .e*dfj+dd
                                             .fjk+dd      .hff+dd     .f*kfe+dd                   .g*hed+dd
                               .h*gdd+dd   .jm*ddg+dd   .jh*hml+jh   .jm*mkk+fi   .emj*gkd+ij   .hdh*ehm+hi
                                .hjf+dd                                                             .hjf+dd
                                                                                    .e*gll+dd     .e*gll+dd
                                                                                    .e*ehd+dd     .e*ehd+dd
                                                                       .eee+gh                      .eee+gh
                                                                                      .gim+dd       .gim+dd
                                                                                    .i*ikl+fj     .i*ikl+fj
                                                                                    .f*gjg+dd     .f*gjg+dd
                                .mdf+dd     .e*lme+dd     .fjk+dd      .fjk+dd     .ek*egi+dd    .fd*hjf+dd
                                           .fl*ikf+dd     .hkh+dd                                .fm*dhj+dd
                                .hig+dd    .jf*meh+jd       .k+fl     .e*llm+dd    .gd*ffl+hl    .mi*hmf+gj
                                                           .ef+dk        .fm+ig                      .he+jd
                                                                                    .m*hgm+dd     .m*hgm+dd
                                                         .e*dfj+dd                                .e*dfj+dd
                                                                                       .fh+eh        .fh+eh
                                                                                    .e*fdk+dd     .e*fdk+dd
                                .hig+dd     .e*lgl+dd     .jjl+dd                                 .f*mim+dd
                                                                                    .h*iff+jl     .h*iff+jl
                                                                                    .e*ihj+dd     .e*ihj+dd
                                                                                      .lih+dd       .lih+dd
                                                                                    .g*kem+eh     .g*kem+eh
                                                                                      .mmj+dd       .mmj+dd
                                            .l*fff+hj                  .hig+dd      .e*dfj+dd     .m*kde+hj
                                                                                    .h*egh+md     .h*egh+md
                                                                                   .gm*kmd+dd    .gm*kmd+dd
                                                                                    .e*fdk+dd     .e*fdk+dd
                              .el*kli+dd   .fl*lid+md   .fk*dfl+fm   .fk*jhd+lm   .edm*jij+ki   .fee*mje+lg



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                                               .ikg+dd         .ee+el      .fg+kk          .m+mg         .jek+ll
                                .e*mfg+dd   .gjl*fkm+lh   .emj*hfh+ih .fdi*mee+ed    .jfj*jkk+le   .e*gmm*fej+fm
                                                                                         .hkh+mi         .hkh+mi
                                               .gfh+mk                                   .mdd+fd       .e*ffi+ek
                                                             .hig+dd                                     .hig+dd
                                               .fjk+dd                                                   .fjk+dd
                                                              .jh+dd                                      .jh+dd
                                                                                       .e*hli+dd       .e*hli+dd
                                 .fjk+dd       .gge+dd                                 .h*hhd+dd       .i*dgl+dd
                                              .e*dfj+dd                                .h*mgm+kd       .i*mji+kd
                                                                                         .mkg+dd         .mkg+dd
                                                                                       .e*eel+dd       .e*eel+dd
                                                              .ef+dk       .mf+dd                        .edh+dk
                                                              .jh+dd                                      .jh+dd
                                                                                       .e*fjg+dd       .e*fjg+dd
                                              .g*dfd+dd      .imi+dd                  .em*gld+dd      .ff*mmi+dd
                                 .igh+dd       .jjh+dd                      .fj+dd    .el*kfk+dd      .em*mie+dd
                                                                         .e*dfj+dd                     .e*dfj+dd
                                 .mei+dd     .ee*eik+ld     .h*gle+ed                  .k*jml+dd      .fh*eie+md
                                                                           .fi+fj                         .fi+fj
                                                 .gd+dd                                  .edd+dd         .egd+dd
                                .f*ghg+dd    .ed*lkd+dd      .llj+dd     .h*dhj+hj    .ij*kfk+jf      .kh*lkg+dl
                                                                                         .hll+dd         .hll+dd
                              .ehd*kki+im   .gkj*mhh+fi   .fmf*hed+ll .ehj*fil+me    .kje*ikj+km   .e*kek*mjj+hf
                                              .g*kkg+id     .e*fdj+id                 .gk*lki+im      .hf*lii+im
                                                                                       .e*jmh+dd       .e*jmh+dd
                                                                         .i*mld+id                     .i*mld+id
                                 .fjk+dd        .fh+fi        .kd+ek      .jel+dd      .g*dhi+de       .h*dfh+hg
                                                                                         .fjk+dd         .fjk+dd
                                                                .j+lj    .e*dfj+dd                     .e*dgf+lj
                                                                                         .hig+dd         .hig+dd
                                                                                       .h*hfe+il       .h*hfe+il
                                              .e*eff+dd     .j*egg+dd    .e*hei+dd    .gj*gdl+dd      .hh*mkl+dd
                                              .e*jee+dd                                .i*dfi+dd       .j*jgj+dd
                                               .hig+dd       .hig+dd                    .hig+dd        .e*gim+dd
                                                 .ef+dk        .kd+ml                     .fm+dg         .eef+dl
                                                            .f*imf+dd                                  .f*imf+dd
                                                                                         .jjm+dd         .jjm+dd
                                              .e*hhd+dd      .gjk+dd      .hig+dd     .ef*dgi+dd      .eh*fmi+dd
                                                                                         .kie+dd         .kie+dd
                                                                                         .hig+dd         .hig+dd
                                                                                      .eh*iii+dd      .eh*iii+dd
                                                             .kjd+dd                  .ej*klf+dd      .ek*ihf+dd
                                                                                         .jjl+dd         .jjl+dd
                                                                                       .h*jjk+ld       .h*jjk+ld
                                                                                       .e*eje+kh       .e*eje+kh
                                               .hig+dd                   .e*jfe+dd    .ei*kdm+dd      .ek*klg+dd
                                                                                         .kfk+dd         .kfk+dd
                                              .e*hhi+le       .fk+kd    .ff*lfj+id    .ef*hjg+di      .gj*kjg+dj
                                               .jjm+dd                     .hig+dd    .ek*deh+jd      .el*egj+jd
                               .eh*gjm+ee    .mg*mif+lm   .edk*mil+lj   .hi*hhh+gh   .ifi*fmi+gk     .klk*dfd+ik
                               .fk*egd+dd   .ehm*jld+jf    .gj*gdg+dd   .hk*mld+kd   .igf*dhm+kk    .kmg*ehh+dm
                                .l*mdl+dd    .fj*emm+kd    .fl*eeg+hd   .el*ede+df    .jh*hek+lg     .ehi*kgm+mi
                                .h*hlk+dd    .eg*eed+il     .m*ilf+hj   .gd*djk+jh   .eje*hhk+dg    .fel*jmh+ke
                                                                                          .ed+kh          .ed+kh
                               .fd*lif+ef    .lf*lhk+lf    .el*jhd+hj   .kj*hfh+ih   .jgl*hlj+ek     .lgk*fie+ee
                                                                                       .f*kkf+dd       .f*kkf+dd
                                .g*kkl+dd    .ek*ife+jf    .ee*igd+dd     .jjm+dd     .ef*mjm+mi      .hj*hjl+ik
                                                              .mgj+dd                  .l*dkk+dd       .m*deg+dd
                                                                                         .lde+ef         .lde+ef
                                               .hig+dd       .hig+dd     .e*eel+dd                     .f*dfh+dd
                                                                                         .hig+dd         .hig+dd
                                .l*kld+dd    .lm*ggk+dg    .ed*jjd+ji   .fj*mjm+jd   .ghk*djd+mh    .hlf*ldl+ff
                                                                                          .ef+gk          .ef+gk
                                 .hig+dd                    .e*mfk+dd                                  .f*gld+dd
                                              .e*egh+dd                                                .e*egh+dd
                               .ki*ilh+dd   .ife*ihf+gf   .fdl*khg+ld   .mk*llf+lk   .kki*mjd+ei   .e*jkm*keg+eh
                                .i*gld+dd    .em*egf+dd    .el*hkj+ik    .i*eig+hd   .gid*lhg+gk     .gml*mli+gh
                                .g*ekj+dd     .h*ijg+hj     .f*gdg+dd    .f*hjh+hd     .l*emi+gf      .fd*kdf+el
                                 .hig+dd      .h*iil+if     .k*fik+dd    .g*hgk+kj   .eee*kgj+dg     .efk*hhf+ge
                                                .fjk+dd                                                  .fjk+dd




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                                    .:/0,08

                              .:#+,#'#+11
3GL? Q 0FN?FLGJP O;K J?HGJL?> <P -?<LGJK GF ; =GFKGDC>;L?> <;KCK$




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Case 20-20219   Doc# 159-1   Filed 04/16/20   Page 15 of 38
                                    .:/0,08

                              .:#+,#(#+11
3GL? Q 4@@C=? @MJFCLMJ? ;F> ?IMCHE?FL J?HGJL?> GF ; =GFKGDC>;L?> <;KCK$




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,Gbe ¢
+NN[HM &mb_[embM
                                                                                             %MabMH[Ge[`_
&GH[^[eo           'M_MbG^ %McHb[ae[`_   *Me #``] /G^mM   /G^mGe[`_ )MeZ`L   $mbbM_e /G^mM   -HZMLm^M       "aabG[cML
"^^                "^^                   ¡ ¡(           #``] /G^mM         ._]_`n_         *"            _`




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                                    .:/0,08

                              .:#+,#)#+11
3GL? # .IMCHE?FL ;F> N?BC=D?K HJGNC>?> CF GF? J?HGJL @GJ ;DD =GEH;FC?K$




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*Ead 
)EGXY]Kao %`lY_\K]d ^a -KXYG[Kb
+KK ,EF &"  $K_a +GXKJl[K d^ L^[[^m
(KEbKJ

(45898>?   17:6;< )'             17:6;<                             %66<7== 98:7 #                  %66<7== 98:7 $   &8>? /0 3)-
#-'        2PNNHRFKEM 2EQKTEM    2PNNHRFKEM 2EQKTEM 2PNQEOX# 992    .('+ :HMRPSH 3RKVH# >TH '&&                      9HOHWE# 8> ,,('*
#-'        6KTEFJK :HGKFEM >XS   6KTEFJK 6HEMTJFERH 0NHRKFES 2PRQ   3HQT -.')-.                     <%;% 1PW -.&&&   3HTRPKT# :7 *.(-.
#-'        ;42 :HGKFEM >XSTHNS   ;42 :HGKFEM >XSTHNS 7OF%           (/.* 2PMMHFTKPOS 2HOTHR 3RKVH                    2JKFEIP# 79 ,&,/)
#-'        4VHR1EOL              ?700 1EOL                          <; 1PW /'',&.                                    3HOVHR# 2; .&(/'$',&.n
#-'        DKNNHR                DKNNHR @># 7OF                     -+ =HNKTTEOFH 3RKVH             >UKTH ,/)'       2JKFEIP# 79 ,&,-+$,/)'




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8;H76 3EE7FE                                                                    0/*434*.37,24

                                                                                 FAF3>          5]ZZNV\ GJT]N
              G7@6AD            ;@G 63F7               67E5D;BF;A@               5AEF
EXZQVPOQNTM

GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                     4*450,11            ,%//2'//
K%C :`_decfTeZ`_                /0-1/-/5    eV_R_e Z^ac`gV^V_e                    /..*254,2/           ..%+/*'/0
KR]]XcRdd KVTY_`]`XZVd          .2-/2-/6    CV_`g` KYZ_\aRU                         /*4..,..              21/',/
                                                                                  *)1%0-1'0-           .1%2,*',,




;VMNXNVMNVLN
>]`SR] JeRc DVUZTR]             .7-.7-.6    T+Rc^ eRS]V U`h_aRj^V_e                 /*72.,..                )'))
>]`SR] JeRc DVUZTR]             .7-03-.6    T+Rc^ eRS]V SR]R_TV                     /*72.,..                )'))
>]`SR] JeRc DVUZTR]             .7-03-.6    T+Rc^ eRS]V SR]R_TV                     /*72.,..                )'))
GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                     4*450,11            ,%//2'//
K%C :`_decfTeZ`_                /0-1/-/5    eV_R_e Z^ac`gV^V_e                      7*713,27            .%-/-'./
KR]]XcRdd KVTY_`]`XZVd          .2-/2-/6    CV_`g` KYZ_\aRU                         /*4..,..              21/'.2
                                                                                   +-%)+0'1+                )'))




E\' >W]Q[

GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                     4*450,11            ,%//2'//
GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                     4*450,11            ,%//2'//
KR]]XcRdd KVTY_`]`XZVd          .2-/2-/6    CV_`g` KYZ_\aRU                         /*4..,..              21/'.2
                                                                                   *-%2--'//            0%,,2',+




A^NZTJVM BJZS

GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                    /1*122,44            0%,,2'.2
KR]]XcRdd KVTY_`]`XZVd          .2-/2-/6    CV_`g` KYZ_\aRU                         /*4..,..              21/'.2
                                                                                                            )'))
                                                                                   *-%2--'//            1%,+/'*1




@ =JV[J[ 5Q\_
:cVReZgV KVTY_`]`Xj             //-.6-.7    1 UV]] `aeZa]Vi W`c _\T                 2*/07,.7                )'))
:cVReZgV KVTY_`]`Xj             //-/1-.7    _VeXVRc TRS]V _\T                         575,0.                )'))
>]`SR] JeRc DVUZTR]             ./-.4-/.    :C /... T+Rc^ eRS]V                     1*66.,..                )'))
>cRj]Z_X @_T                    .0-00-/.    _\T `WWZTV SfZ]U`fe                    /3*402,..                )'))
GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                     4*450,11            ,%//2'//
K%C :`_decfTeZ`_                /0-1/-/5    eV_R_e Z^ac`gV^V_e                     /4*/67,/0            1%2),'21
KR]]XcRdd KVTY_`]`XZVd          .2-/2-/6    CV_`g` KYZ_\aRU                         /*4..,..              21/'.2
                                                                                   -1%12*'0-           *+%.0,'/-


E\>&BJZSNZ

I`[R_R IVR]ej                   /0-1/-/5    eV_R_e Z^ac`gV^V_e                       0*163,52           *%,*+'++

                                                                                     +%,1.'0-           *%,*+'++


BJWTJ

I`[R_R IVR]ej                   /0-1/-/5    eV_R_e Z^ac`gV^V_e                    0.3*412,60          **,%)22')0


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8;H76 3EE7FE                                                                        0/*434*.37,24

                                                                                     FAF3>          5]ZZNV\ GJT]N
            G7@6AD                  ;@G 63F7              67E5D;BF;A@                5AEF

                                                                                      +).%/,-'1+          **,%)22')0


@N^JMJ

I`[R_R IVR]ej                       /0-1/-/5    eV_R_e Z^ac`gV^V_e                     5/*6.2,2.           ,2%-2+'-+

                                                                                       0*%1)-'-)           ,2%-2+'-+




5WT]UKQJ

GYZ]]Zad ?VR]eYTRcV + <B>             /0-./-/5 <B>                                       4*450,11           ,%//2'//

                                                                                         /%/0+',,           ,%//2'//




4G:
                                                hZcV]Vdd aY`_V T`__VTeZ`_ SVehVV_
8TeZgV KV]VT`^ + /-0 U`h_ W`c SgY   .5-1/-/.    SfZ]UZ_Xd                              /3*22.,.2                )'))
Re]Rd gR_ ]Z_Vd                     .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e         /*3.4,03                )'))
T]f_V                               .5-1/-/.    T+Rc^                                  53*3.5,10                )'))
TV_efcZ`_                           .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e        5.*.5/,1.                )'))
T`^a ecR_da`ce                      .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e         /*157,..                )'))
TcReVcd R_U WcVZXYe                 .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e           /13,..                )'))
WcVZXYebf`eV                        .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e         1*662,.6                )'))
XdR                                 .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e        0.*/36,..                )'))
DRbfVe* @_T,                        .5-1/-/.    ]ZXYe % S``^ Z_deR]]                   //*.03,30                )'))
fad                                 .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e           52/,03                )'))
gRTff^ djdeV^                       .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e        /.*541,03                )'))
T]f_V                               /.-1/-//    deVcZd                                 /5*3/3,06                )'))
><                                  /.-1/-//    T`aZVcd                                07*124,13                )'))
F]j^afd                             //-.6-//    gZUV` XRdec`dT`aV                      /3*026,13                )'))
@^RXV HfVde                         /0-0.-//    :`]`c HfSV :`aZVc                      /1*404,66                )'))
IRUd`fcTV                           ./-/.-/0    T+Rc^ U`h_aj^e                         12*7..,..                )'))
:]RWZ_ DVUZTR]                      ./-/.-/0    SVU                                     5*6/6,26               #)'))$
J^ZeY EVaYVh                        ./-05-/0    [`Z_e acVdVcgReZ`_ VbfZa                7*55.,25                )'))


J^ZeY EVaYVh                        ./-1/-/0    [`Z_e acVdVcgReZ`_ VbfZa               15*42/,64                )'))
:]RWZ_ DVUZTR]                      ./-1/-/0    SVUd + 0                               /3*414,74               #)'))$
J^ZeY EVaYVh                        .0-.6-/0    VbfZa^V_e                              /3*636,32                )'))
DVdR DVUZTR]                        .0-07-/0    e`fc_ZbfVe djdeV^                       3*53.,..                )'))
F]VX Ifed\Z_                        .1-/0-/0    decj\Vc TU1                             4*43.,..                )'))
DKD DVUZTR]                         .1-1/-/0    decj\Vc UcZ]]                           6*0..,..                )'))
;V_eR] G]R_Ve                       .1-1/-/0    RdVaeZT` _`^RU ac`                      6*.63,..                )'))
IRUd`fcTV @^RXZ_X                   .2-.7-/0    T+Rc^ SR]                              31*256,..                )'))
:]RfUV                              .3-02-/0    UV_eR] VbfZa^V_e                        3*773,..                )'))
@^RXV HfVde                         .5-/1-/0    h`c\TV_ecV 5/03GK T`aZVc                5*215,.7                )'))
:cVReZgV KVTY_`]`Xj J`]feZ`_d       ./-./-/1    dVcgVc                                 /.*01/,24                )'))
MVcReY`_* @_T                       .2-07-/1    X]ZUVdT`aV                             /0*356,0.                )'))




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8;H76 3EE7FE                                                                          0/*434*.37,24

                                                                                       FAF3>          5]ZZNV\ GJT]N
            G7@6AD                ;@G 63F7                67E5D;BF;A@                  5AEF




:`_^VU                            .1-05-/1    UcZ]] R_U ReeRTY^V_ed                      32*7/2,03                )'))
8]]V_ DVUZTR] JjdeV^d             .4-04-/1    R]]V_ S`h WcR^V                             5*161,31               #)'))$



Jecj\Vc <_U`dT`aj                 .6-/4-/1    6 ]RaRc`dT`aV % 2 TRS]Vd                   1/*.51,30                )'))
JfcXZTR] 8UgR_eRXV                .7-//-/1    eZeR^Zf^ SS Vie cVecRTe`c                  /6*171,66                )'))
8U^Rc ;ZRX                        /.-0.-/1    _Vfc`^Ri djdeV^-deR_U                       5*/2.,..                )'))
DVU]Z_V                           ./-01-/2    Vdf ZUd 0.. XV_VcRe`c % TRce                5*3.4,06               #)'))$
8^\RZ                             .2-./-/2    V^c                                       157*51.,41                )'))
                                              0 IVWfcSZdYVU RVdeZgR R_VdeYVdZR
9V]] DVUZTR]                      .2-./-/2    ^RTYZ_Vd hZeY MV_eZ]                       07*270,3.               #)'))$
ADG                               /0-1/-/2    ?`_UR FUVddj                                3*...,..                )'))
ADG J`]U e` ;`fX aR]kVc /-06-0.   /0-1/-/2    CZ_T`]_ :Rc                                 3*...,..                )'))
<gVcSR_\                          /0-1/-/2    e` cVT`cU :Ra CVRdV                       0.2*/55,..                )'))
LJ 9R_\                           /0-1/-/2    e` cVT`cU :Ra CVRdV                       /21*/34,..               #)'))$
:`gZUZV_                          /.-05-/3    ZUcZgV f]ecR a`hVcVU YR_U]V /               5*...,..              1*/'-2
:`gZUZV_                          /.-05-/3    ZUcZgV f]ecR a`hVcVU YR_U]V /               5*...,..              1*/'-2
:`gZUZV_                          /.-05-/3    ZUcZgV f]ecR a`hVcVU YR_U]V /               5*...,..              1*/'-2
:`gZUZV_                          /.-05-/3    ZUcZgV f]ecR a`hVcVU YR_U]V /               5*...,..              1*/'-2
:`gZUZV_                          /.-05-/3    ZUcZgV f]ecR a`hVcVU YR_U]V /               5*...,..              1*/'-2
:`gZUZV_                          /.-05-/3    V_U` XZR RURaeVc i]                         1*3..,..              -)1'.*
:`gZUZV_                          /.-05-/3    V_U` XZR RURaeVc i]                         1*3..,..              -)1'.*
:`gZUZV_                          /.-05-/3    V_U` XZR RURaeVc i]                         1*3..,..              -)1'.*
:`gZUZV_                          /.-05-/3    V_U` XZR RURaeVc i]                         1*3..,..              -)1'.*
:`gZUZV_                          /.-05-/3    V_U` XZR RURaeVc i]                         1*3..,..              -)1'.*
Jfaa]j2>@ CC:                     /.-00-/3    DVUZgRe`cd ;J;                              7*...,..            *%).)'))
;`fX GR]kVc                       /.-07-/3    GfcTYRdV `W 0./0 AVVa MVYZT]V              00*...,..            +%.//'-2
;`fX GR]kVc                       /0-1/-/3    GfcTYRdV `W 0./0 ?`_UR FUdVddj             00*/30,..            ,%/2+'))
=`cU 9fdVd                        /0-1/-/3    cT]d SfddVd                               //3*73.,..           *2%,+.'))
LJ 9R_\                           /0-1/-/3    LJ SR_\ ]VRdV T`ccVTeZ`_                  /.0*771,..                )'))
                                              Jecj\Vc Df]eZXV_ I=8 >V_VcRe`c
                                              'Z_T]fUVd YR_UYV]U T`_ec`]]Vc R_U
CR_V :, GVeVcd`_                  ./-04-/4    V]VTec`UVd(                                /3*...,..            +%.))'))
CR_V :, GVeVcd`_                  ./-04-/4    NZ_T` DVUZTR] IVT]Z_Vc :YRZcd )1            /*0..,..              +))'))
F]ReYV =`cU JR]Vd                 ./-0.-/4    =`cU KcR_dZe MR_                           46*/36,75           **%,.2'20
:`gZUZV_                          .0-.0-/4    MC=K/.>V_ <_VcXj G]ReW`c^                  0.*...,..            ,%///'1,
DVcTVUVd+9V_k `W B:               .1-.7-/4    0./3 DVcTVUVd JacZ_eVc                     77*165,.3           +*%.,,'2)
DVcTVUVd+9V_k `W B:               .1-.7-/4    0./3 DVcTVUVd JacZ_eVc                     77*165,.3           +*%.,,'2)

?VRceKcRZ_Z_X CC:                 .2-.4-/4    ;ZWZScZ]]Re`c dVe                          /4*3..,..            ,%.0.'))

                                              i+a`ceV' f]ecRd`f_U \Z`d\* f]ecRd`f_U
                                              \Z`d\ djdeV^ hZeY deR_U* d`WehRcV
                                              aRT\RXV* f]ecRd`f_U deR_U hZeY
                                              acZ_eVc* G0/ia-3+/ D?Q KcR_dUfTVc*
                                              J`_j LJ9 84 LG;675D; 9 R_U N
?VRce]R_U 8_VdeYVdZR              .2-06-/4    GcZ_eVc                                    00*...,..            .%*,,'*1
                                              FR\h`c\d :=GD1./ GRZ_
?VRce]R_U DVUZTR] J`]feZ`_d       .4-.0-/4    DR_RXV^V_e KRS]V                           //*16.,..            +%1--'1.
                                              FR\h`c\d :=GD1./ GRZ_
?VRce]R_U DVUZTR] J`]feZ`_d       .4-.0-/4    DR_RXV^V_e KRS]V                           //*16.,..            +%1--'1.
                                              FR\h`c\d :=GD1./ GRZ_
?VRce]R_U DVUZTR] J`]feZ`_d       .4-.0-/4    DR_RXV^V_e KRS]V                           //*16.,..            +%1--'1.



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8;H76 3EE7FE                                                                          0/*434*.37,24

                                                                                       FAF3>          5]ZZNV\ GJT]N
            G7@6AD                  ;@G 63F7                 67E5D;BF;A@               5AEF
                                                 T`cV ^`e`c T`_ec`]]Vc R_U V]VTecZT
Jecj\Vc JR]Vd :`ca                  .5-/3-/4     YR_UdhZeTY                               1*41/,12              221'0+
Jecj\Vc JR]Vd :`ca                  .5-/3-/4     V]ZeV /0 T^ decRZXYe ReeRTY^V_e          /*2.6,52              ,10',/
Jecj\Vc JR]Vd :`ca                  .5-/3-/4     aZ UcZgV a]fd ^`e`c                     /3*...,..            -%*+.'))
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   WZScV TYR__V] dhZeTY                     5*/72,..            +%,21'))
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   _Veh`c\ dhZeTY                           2*736,..            *%/.+'1)
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   hReTYXfRcU WZcVhR]]d                    27*3..,..           */%.))'))
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   U]16. XV_ 7 dVcgVc #1                   01*1.0,..            0%0/0'+)
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   dR_d '^dR 0.2.(                         14*77.,..           *+%,,)'))
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   U]16. XV_ 7 dVcgVc #0                   01*1.0,..            0%0/0'+)
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   WZScV TYR__V] dhZeTY                     5*/72,..            +%,21'))
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   U]16. XV_ 7 dVcgVc #/                   1.*724,..           *)%,*.'+)
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   _Veh`c\ dhZeTY                           2*736,..            *%/.+'1)

Jecj\Vc JR]Vd :`ca                   6-1/-0./4 MV_`^ /..^^ V]VTec`UV ) 2                   7*0..,..           +%0/)'*-



Jecj\Vc JR]Vd :`ca                   6-1/-0./4 MV_`^ /..^^ V]VTec`UV ) 6                 /6*2..,..            .%.*2'1/

?ZeRTYZ DVUZTR] Jjd                   7-7-0./4 icRj VbfZa^V_e                           /50*7..,..           .*%1/2'1/
:`gZUZV_                             7-/7-0./4 ZUcZgV f]ecR a`hVcVU YR_U]V                5*...,..            +%)22'1/
:`gZUZV_                             7-/7-0./4 V_U` XZR RURaeVc i]                        1*3..,..            *%).)'*-

KR]]XcRdd KVTY_`]`XZVd              /.-04-0./4 ]RUUVc cRT\Z_X R_U RaT f_Zed              0.*/3.,..            /%0*/'1)

CVZTR DZTc`djdeV^d                    //-01-/4 @K EVh JVcgVc c``^ VbfZa                 /.0*61.,1/           ,.%22)'..

JeVcZd :`ca`cReZ`_                    //-06-/4   JeVR^ JeVcZ]ZkVc                        77*560,30           ,-%2+,'2/
DVU]Z_V @_UfdecZVd* @_T,              //-07-/4   GReZV_e KRS]V h- ;cRhVcd                /5*6.2,22            /%+,*'.1
JeVcZd :`ca`cReZ`_                    /0-.5-/4   8Zc :`^acVdd`c                           0*.30,..              0*1'+)
:f]]ZXR_ `W >cVReVc BR_dRd :Zej       /0-/0-/4   NReVc J`WeV_Vc <bfZa^V_e                 5*271,..            +%/++'/1

JeVcZd :`ca`cReZ`_                    /0-/3-/4   C`h KV^a JeVcZ]ZkVc                     20*3.3,..           *-%10/'/+
?ZeRTYZ DVUZTR] Jjd                   /0-/3-/4   KRiVd                                   /3*1./,44            .%,..'-2
8cYRfd =fc_ZefcV                      .1-/3-/4   ;`fX&d `WWZTV Wfc_ZefcV                 /7*771,02            .%,,*'./
KYV :RcVXZgVc :`^aR_j* CC:            //-03-/4   9VU&d + MVceZTR] '2 `W eYV^(            /7*371,..            0%*1-'*)

KR]]XcRdd KVTY_`]`XZVd                .0-./-/5 @K EVh JVcgVc c``^ VbfZa                 005*302,17           10%+*0'1)

IRUd`fcTV @^RXZ_X KVTY`]`Xj* @_T,     .1-.6-/5 ^`SZ]V cRUZ`XcRaYZT djdeV^                37*...,..           +/%..)'**

IRUd`fcTV @^RXZ_X KVTY`]`Xj* @_T,     .1-06-/5   ^`SZ]V cRUZ`XcRaYZT djdeV^              25*0..,..           +*%+,2'12
F<: DVUZTR] JjdeV^d @_T,              .2-./-/5   EVhgZVh ^`_Ze`c faXcRUV                  3*...,..            +%)1,'-.
F<: DVUZTR] JjdeV^d @_T,              .2-./-/5   IVWfcS 76.. G]fd                        6/*...,..           ,,%0.)'))
=cR_\ 8_T`_R ?`_UR                    .2-03-/5   0./5 ?`_UR FUjddVj <OC                  2/*623,41           *1%1,)'--
=cR_\ 8_T`_R ?`_UR                    .2-03-/5   0./5 ?`_UR FUjddVj <OC                  2/*623,41           *1%1,)'--
=cR_\ 8_T`_R ?`_UR JFC; KF
;FL> G8CQ<I /-06-0.                   .6-04-/5 0./5 ?`_UR FUjddVj <OC                    2/*623,41           ++%,*0'.2
GYZ]]Zad ?VR]eYTRcV + <B>             /0-./-/5 <B>+0                                     /1*122,44            0%,,2'.2

I`[R_R IVR]ej                         /0-1/-/5 eV_R_e Z^ac`gV^V_e + ^VeTR]W T]Z_ZT       44*75.,/5           ,/%1,,'.1
Jec`_Xa`Z_e                           /0-1/-/4 TR^VcRd                                   02*466,25            2%).+'/*

IRUd`fcTV @^RXZ_X KVTY`]`Xj* @_T,              ^`SZ]V cRUZ`XcRaYZT djdeV^                 00*316,..          *)%*-+'+*
DZdT `WWZTV                           ./-./-/5                                           02.*125,22          11%*+0'-+
8bfRcZf^                              .5-04-/4                                            /2*30.,..           -%**-'))
;VWZS                                 /0-.6-/4                                             5*.35,14           +%-0)'*1
8fUZe`c 8U[fde^V_e                    /0-1/-/5                                         0*007*7.6,..       +%++2%2)1'))
8fUZe`c 8U[fde^V_e                    /0-1/-/5                                           303*624,/5         .+.%1-/'*0
KR]]XcRdd KVTY_`]`XZVd                .1-.7-/6 _Veh`c\ dhZeTY                              6*17.,..           .%),-')1



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8;H76 3EE7FE                                                                       0/*434*.37,24

                                                                                    FAF3>           5]ZZNV\ GJT]N
            G7@6AD              ;@G 63F7               67E5D;BF;A@                   5AEF
KR]]XcRdd KVTY_`]`XZVd            .1-.7-/6   _Veh`c\ dhZeTY                             6*17.,..            .%),-')1
KR]]XcRdd KVTY_`]`XZVd            .2-/2-/6   CV_`g` KYZ_\aRU                            /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`XZVd            .5-/7-/6   _Veh`c\ dhZeTY                             6*17.,..            .%.2,'-)
Jj_VcXj DVUZTR] @_T               .0-05-/6   FI CZXYeZ_X                               27*32.,..           +1%1.*'.,
JeVcZd :`ca`cReZ`_                .1-05-/7                                              5*740,/0            /%,/2'0+
:`_df]eR_ed @_ EVfc`]`Xj Vbae     ./-//-/7   MRcZ`fd                                  /02*705,..           2.%000',+
                                                                                    /%01/%+1-'.*        ,%/.-%/,2'0)

BRcZ_ DVeTR]W                   /.-./-/.     eV_R_e Z^ac`gV^V_e                       5.4*256,06           *0%//*'22
BRcZ_ DVeTR]W                   .1-./-/2     eV_R_e Z^ac`gV^V_e                        3.*...,..           +)%-*/'-,
BRcZ_ DVeTR]W                   .1-./-/2     eV_R_e Z^ac`gV^V_e                       036*5/2,4/          *),%-1.'-2
GVeVcd % 8dd`TZReVd             /0-0/-/4     eV_R_e Z^ac`gV^V_e                       /73*560,6.          *,,%01.')-
GVeVcd % 8dd`TZReVd             ./-/4-/5     :]VR_ % J`Z]                             /./*762,05           0)%.,2')1
8fUZe`c 8U[fde^V_e              /0-1/-/5                                              516*456,35
                                                                                    +%).*%/,1'.,          ,-.%111'),

BVj <bfZa =Z_R_TV               .3-./-/2     ^cZ                                    /*722*444,33               #)'))$

BVj <bfZa =Z_R_TV               .4-./-/2     cRU djdeV^-h`c\deReZ`_                   /1/*/2.,07                )'))
                                                                                    +%)0.%1)/'1-               #)'))$




4G:
8]TT_ 6NXZNLQJ\NM 7Y]QXUNV\                                                         /*002*757,23                )'))
9jc`_ DVUZTR]                   .0-./-.5     YRc^`_ZT dTR]aV] XV_VcRe`c                '/*21.,..(               )'))
Jecj\Vc <_U`dT`aj               .2-1.-.5     ^`_Ze`cd W`c ]Rac`dT`aj dfcXVcj          /4.*0/2,65                )'))
                                             ViTYR_XV dVcgVc* U`^RZ_ T`_ec`]]Vc*
:cVReZgV KVTY J`]feZ`_d         .3-01-.5     c`feVc                                     6*/21,71                )'))
                                             Yd YR_U T`_ec`]]VU TfcgVU dYV
A%A ?VR]eYTRcV                  .4-07-.5     ;2?80P                                     3*13/,30                )'))
                                             Yd YR_U T`_ec`]]VU TfcgVU dYV
A%A ?VR]eYTRcV                  .5-.4-.5     ;2>M5/                                     3*13/,30                )'))
DTBVdd`_                        .7-0/-.5     ^VUZTR] UVgZTV ac`TVddZ_X+ecU              5*3//,/4                )'))
<gVcXcVV_ DVUZTR] >c`fa         ./-/.-.6     0 R_VdeYVdZR ^`_Ze`cd                      5*3..,..                )'))
:cVReZgV KVTY_`]`Xj             ./-0/-.6     _`eVS``\                                   0*041,07                )'))
:cVReZgV KVTY_`]`Xj             ./-0/-.6     hVS T`_eV_e WZ]eVcZ_X d`]feZ`_             2*777,6.                )'))
:cVReZgV KVTY_`]`Xj             .0-//-.6     dVcgVc                                     0*5/7,0.                )'))
                                             Z_deR]] dVTfcZej R_U TR^VcR
DRdeVc ;VeVTeZ`_ JjdeV^         .0-/3-.6     dfcgVZ]]R_TV /-0                           3*253,..                )'))
                                             Z_deR]] dVTfcZej R_U TR^VcR
DRdeVc ;VeVTeZ`_ JjdeV^         .2-01-.6     dfcgVZ]]R_TV /-0                           3*253,..                )'))
                                             Z_deR]] dVTfcZej R_U TR^VcR
DRdeVc ;VeVTeZ`_ JjdeV^         .3-/0-.6     dfcgVZ]]R_TV ViecR \VjaRU                   0..,..                 )'))
                                             0 R_VdeYVdZR ^RTYZ_Vd h-gV_eZ]Re`cd
;G DVUZTR] JVcgZTVd             .3-01-.6     % h-^`_Ze`cd /-0                         /2*...,..                 )'))
                                             0 R_VdeYVdZR ^RTYZ_Vd h-gV_eZ]Re`cd
;G DVUZTR] JVcgZTVd             .3-1.-.6     % h-^`_Ze`cd /-0                         /2*2..,..                 )'))
IRUd`fcTV @^RXZ_X               .5-.0-.6     T+Rc^ 2.$                                17*13.,..                 )'))
IRUd`fcTV @^RXZ_X               .5-.5-.6     T+Rc^ 3.$                                27*/65,3.                 )'))
<gVcXcVV_ DVUZTR] >c`fa         .5-06-.6     2 V]VTecZT Y`daZeR] SVUd* /-0             1*14.,..                 )'))
IRUd`fcTV @^RXZ_X               .6-//-.6     T+Rc^ /.$                                /4*077,16                 )'))
:cVReZgV KVTY_`]`Xj             .6-/0-.6     0 UV]] dVcgVcd                            7*/15,/.                 )'))
IRUd`fcTV @^RXZ_X               .6-/6-.6     acZ_eVc % ^`_Ze`c W`c T+Rc^               /*/07,./                 )'))
<gVcXcVV_ DVUZTR] >c`fa         .7-/7-.6     2 V]VTecZT Y`daZeR] SVUd* /-0             1*24/,64                 )'))
:Z_TZ__ReZ JfS+QVc`             /.-.7-.6     XV] hRc^Vc                                0*460,45                 )'))
:cVReZgV KVTY_`]`Xj             /0-/0-.6     d`_ZThR]]                                 4*742,17                 )'))
:cVReZgV KVTY_`]`Xj             .1-.2-.7     dVcgVc                                    2*652,//                 )'))
:cVReZgV KVTY_`]`Xj             .2-01-.7     e`hVc cRT\                                2*/15,44                 )'))
:cVReZgV KVTY_`]`Xj             .5-06-.7     UV]] dhZeTYVd                             2*340,/2                 )'))
<8 DVUZTR]                      /0-/5-.7     ]ZgVc cVecRTe`cd                          6*366,10                 )'))



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8;H76 3EE7FE                                                                      0/*434*.37,24

                                                                                   FAF3>          5]ZZNV\ GJT]N
             G7@6AD              ;@G 63F7               67E5D;BF;A@                 5AEF
                                                                                   *%/+)%111'11               )'))

                                                                                   0*/32*320,3/               .,..

8]TT_ 6NXZNLQJ\NM 7Y]QXUNV\                                                         235*451,75                )'))
:]f_V                             .6-1.-.7     aY`_V djdeV^                          53*757,44                )'))
5T]VN \WWS MNXZNLQJ\QWV M]ZQVP
TNJ[N'                                                                              .,,%/.,'/,                )'))




4GE3

EVfc`eYVc^                        /0-1/-// cRUZ` WcVbfV_Tj ]VdZ`_ XV_VcRe`c          0/*200,14               #)'))$
JfcXZTR] KRS]Vd                   /0-1/-// TRcS`_ WZSVc Z^RXZ_X eRS]V                 7*/7.,..                )'))
F<: DVUZTR] JjdeV^d @_T,            .6-/5-/5 : 8c^ GfcTYRdV                          71*733,..           -/%200'-)

F<: DVUZTR] JjdeV^d                 ./-04-/6   JfaVc :+8c^                            3*754,..            ,%,1/'-)
KR]]XcRdd KVTY_`]`Xj                .2-/7-/6   CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`XZVd            .2-/2-/6     CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`XZVd            .2-/2-/6     CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`XZVd            .2-/2-/6     CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`XZVd            .2-/2-/6     CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`Xj                .2-/7-/6   CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`Xj                .5-/7-/6   EVeh`c\ JhZeTY                         6*17.,..            .%.2,'-)
KR]]XcRdd KVTY_`]`Xj                .5-/7-/6   EVeh`c\ JhZeTY                         6*17.,..            .%.2,'-)
:`^af^VUZTd LJ8                     .4-./-/7                                         7/*030,4/           02%)1.'.0

                                                                                    +-1%*0.'20          *-/%...'0*




?NMQ^J\QWV


JecReRdjd                           .4-0.-/5 1; GcZ_eVc A53.                        2/.*1/7,34          *1-%/--'**

                                                                                    -*)%,*2'./          *1-%/--'**




  BQVVJLTN DNPQWVJT :W[XQ\JT& 4WWV^QTTN ?A

MVcReY`_                          /.-03-/6     >]ZUVdT`aV GcV^Zf^ :Rce               /3*371,35           **%*0.'--
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,/.            .%-),',)
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,/.            .%-),',)
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,//            .%-),',*
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,//            .%-),',*
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,//            .%-),',*
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,//            .%-),',*
GYZ]Zad ?VR]eYTRcV                  //-0.-/6   MV_eZ]Re`c KcZ]`Xj 0.0                /1*.5/,00            2%.1.'/+
GcVdT`eed @_T                       //-07-/6   QVZdd DZTc`dT`aV                     /1/*372,27           2/%.)+'/.
Jecj\Vc <_U`dT`aj                   /0-/6-/6   ?; MZUV` DVUZTR] D`_Ze`c JPJ          31*./3,6.           ,2%0/*'1)
Jecj\Vc <_U`dT`aj                   /0-/6-/6   CRac`dT`aV :R^VcR JjdeV^             /34*6.0,74          **0%/)+'+/
Jecj\Vc DVUZTR]                     /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc              5*534,64            .%1*0'//
Jecj\Vc DVUZTR]                     /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc              5*534,64            .%1*0'//
Jecj\Vc DVUZTR]                     /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc              5*534,64            .%1*0'//
Jecj\Vc DVUZTR]                     /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc              5*534,64            .%1*0'//



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8;H76 3EE7FE                                                                         0/*434*.37,24

                                                                                      FAF3>           5]ZZNV\ GJT]N
              G7@6AD                ;@G 63F7               67E5D;BF;A@                5AEF
Jecj\Vc DVUZTR]                       /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc               5*534,64             .%1*0'//
Jecj\Vc DVUZTR]                       /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc               5*534,64             .%1*0'//
>< ?VR]eYTRcV DVUZTR]                 /0-1/-/6   L]ecRd`f_U                             05*746,02            +*%--+'+1
Jecj\Vc @_decf^V_ed                   ./-02-/7   9`_V DZ]] R_U JeVcZ]ZkReZ`_ :RdV       /2*/1.,6.            *)%1,,'//
Jecj\Vc @_decf^V_ed                   ./-02-/7   EVaef_V 1 I`gVc                        /6*0/3,66            *,%2/.'-1
Jecj\Vc @_decf^V_ed                   ./-02-/7   EVaef_V 1 I`gVc                        /6*0/3,65            *,%2/.'-0




                                                                                       317*136,41           -)+%*/)'-/


                                                 =RTZ]Zej 'JVV 9V]`h(                 4*0.0*47.,..

                                                                                      /%0-+%)-1'/,
                                                                                        '3.*340,33(

                                                                                      4*47/*264,.6
BQVVJLTN DNPQWVJT :W[XQ\JT& 4WWV^QTTN ?A

K`eR] GfcTYRdV GcZTV                /.-.3-/6                                          4*3..*...,..
8U[fde W`c EVe 8ddVed-CZRSZ]ZeZVd                JVV ;VeRZ] 9V]`h                       ,2*%101'))
K`eR] 8TbfZdZeZ`_                                                                     4*67/*656,..

                                    /.-.3-/6     CR_U                                  /12%*11'))

                                    /.-.3-/6     ?`daZeR] 9]UX % @^ac`gV^V_ed         3*3/1*3.0,..
                                    /.-.3-/6     8^Sf]R_TV 9fZ]UZ_X                      46*7/7,..
                                    /.-.3-/6     I?: 9]UX % @^ac`gV^V_ed                40.*047,..
                                                                                      4*0.0*47.,..

                                                                                      /%12*%101'))

3[[N\[(>QJKQTQ\QN[ 3MR][\UNV\
:RdY                                                                                    '7/*430,..(
EVe 8TT`f_ed IVTVZgRS]V                                                                '6/.*776,..(
@_gV_e`cj                                                                              '071*0/6,..(
8TT`f_ed GRjRS]V                                                                        732*15/,..
8TTcfVU GRjc`]]                                                                         411*153,..
                                                                                        ,2*%101'))




J`]U




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Debtor           _______________________________________________________                                                 Case number (if known)_____________________________________
                 Name



Pa r t 2 :   L i s t Ot h e r s t o B e N o t i fi e d f o r a De b t A l r e a d y L i st e d i n Pa r t 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                     On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                     did you enter the           account number
                                                                                                                                     related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

                                    Case 20-20219                     Doc# 159-1                  Filed 04/16/20                  Page 28 of 38
Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
Case 20-20219   Doc# 159-1   Filed 04/16/20   Page 29 of 38
  Debtor          _______________________________________________________                                   Case number (if known)_____________________________________
                  Name


 Pa r t 2 :   L i st A l l Cr e d i t o r s w i t h N ON PRIORI T Y Un s e c u r e d Cl a i m s

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
     unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                      Amount of claim

3.1 Nonpriority creditor’s name and mailing address                                 As of the petition filing date, the claim is:
                                                                                    Check all that apply.                           $________________________________
     ____________________________________________________________
                                                                                    q    Contingent
                                                                                    q    Unliquidated
     ____________________________________________________________                   q    Disputed
     ____________________________________________________________
                                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred                  ___________________           Is the claim subject to offset?
                                                                                    q    No
     Last 4 digits of account number                  ___ ___ ___ ___               q    Yes

3.2 Nonpriority creditor’s name and mailing address                                 As of the petition filing date, the claim is:
                                                                                    Check all that apply.                           $________________________________
     ____________________________________________________________
                                                                                    q    Contingent
                                                                                    q    Unliquidated
     ____________________________________________________________                   q    Disputed
     ____________________________________________________________
                                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred                  ___________________           Is the claim subject to offset?
                                                                                    q    No
     Last 4 digits of account number                  ___ ___ ___ ___               q    Yes

3.3 Nonpriority creditor’s name and mailing address                                 As of the petition filing date, the claim is:
                                                                                    Check all that apply.                           $________________________________
     ____________________________________________________________
                                                                                    q    Contingent
                                                                                    q    Unliquidated
     ____________________________________________________________                   q    Disputed
     ____________________________________________________________
                                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred                  ___________________           Is the claim subject to offset?
                                                                                    q    No
     Last 4 digits of account number                  ___ ___ ___ ___               q    Yes

3.4 Nonpriority creditor’s name and mailing address                                 As of the petition filing date, the claim is:
                                                                                    Check all that apply.                           $________________________________
     ____________________________________________________________
                                                                                    q    Contingent
                                                                                    q    Unliquidated
     ____________________________________________________________                   q    Disputed
     ____________________________________________________________
                                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred                  ___________________           Is the claim subject to offset?
                                                                                    q    No
     Last 4 digits of account number                  ___ ___ ___ ___               q    Yes

3.5 Nonpriority creditor’s name and mailing address                                 As of the petition filing date, the claim is:
                                                                                    Check all that apply.                           $________________________________
     ____________________________________________________________
                                                                                    q    Contingent
     ____________________________________________________________
                                                                                    q    Unliquidated
                                                                                    q    Disputed
     ____________________________________________________________
                                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred                  ___________________           Is the claim subject to offset?
                                                                                    q    No
     Last 4 digits of account number                  ___ ___ ___ ___               q    Yes

3.6 Nonpriority creditor’s name and mailing address                                 As of the petition filing date, the claim is:
                                                                                    Check all that apply.                           $________________________________
     ____________________________________________________________
                                                                                    q    Contingent
     ____________________________________________________________
                                                                                    q    Unliquidated
                                                                                    q    Disputed
     ____________________________________________________________
                                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred                  ___________________           Is the claim subject to offset?
                                                                                    q    No
     Last 4 digits of account number                  ___ ___ ___ ___               q    Yes

                                   Case 20-20219                   Doc# 159-1               Filed 04/16/20             Page 30 of 38
    Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __ of ___
     Debtor          _______________________________________________________                                          Case number (if known)_____________________________________
                     Name



Pa r t 3 :           L i st Ot h e r s t o Be N o t i f i e d Ab o u t U n s e c u r e d Cl a i m s


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                                         On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                                                               related creditor (if any) listed?             account number, if
                                                                                                                                                             any

4.1.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     q    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     q    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     q    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     q    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     q    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     q    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     q    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     q    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     q    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     q    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     q    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____
         ___________________________________________________________________________________________________
                                                                                                               q    Not listed. Explain ________________     ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




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       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __ of ___
 Debtor         _______________________________________________________                                                 Case number (if known)_____________________________________
                Name



Pa r t 4 :   T o t a l A m o u n t s o f t h e Pr i o r i t y a n d N o n p r i o r i t y U n se c u r e d Cl a i m s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                                                Total of claim amounts



5a. Total claims from Part 1                                                                                                       5a.          $_____________________________




5b. Total claims from Part 2                                                                                                       5b.    +     $_____________________________




5c. Total of Parts 1 and 2
                                                                                                                                   5c.          $_____________________________
    Lines 5a + 5b = 5c.




                                   Case 20-20219                       Doc# 159-1                  Filed 04/16/20                Page 32 of 38
   Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                           page __ of ___
                  &.()%),

                &.#&'#%-+$




Case 20-20219   Doc# 159-1   Filed 04/16/20   Page 33 of 38
                                                                                    EX-EF-BVSA
Vendor ID              Vendor                                  Address line 1                  Address line 2              City ST ZIP                        Total Owed
AASM                   American Academy of Sleep Medicine      2510 North Frontage Rd                                      Darien, IL 60561                       $1,265.00
ACME SIGN              ACME SIGN                               1313 Vernon                                                 North Kansas City, MO 64116-4422       $1,583.30
Advertising by Desig   Julie Brenneman                         12766 Mackey                                                Overland Park, KS 66213                  $640.00
Aegis Fire Protect     Aegis Fire Protection, LLC              11936 W 119th St #262                                       Overland Park, KS 66213                  $327.30
Augustine Services I   Augustine Services. Inc                 9280 Flint Street                                           Overland Park, KS 66214                  $733.38
B.W.S.C., LLC          B.W.S.C., LLC                           c/o Rubenstein Real Estate Co   6310 Lamar, Ste 220         Overland Park, KS 66202                $6,409.66
Bank of the West       BankCard Center                         PO Box 4021                                                 Alameda, CA 94501-0421                   $999.57
Bridging The Gap       Bridging The Gap Interpreting, LLC      10940 Parallel Pkwy, Ste K285                               Kansas City, KS 66109                    $464.80
Bug Zero               Bug Zero Inc.                           311 N Waverly                                               Springfield, MO 65802                     $70.00
Central District Ala   Central District Alarm, Inc             6450 Clayton Ave                                            St Louis, MO 63139 USA                   $408.00
CenturyLink            Century Link                            PO Box 4300                                                 Carol Stream, IL 60197                $49,231.16
Collector of Rev       Collector of Revenue                    41 South Central Avenue                                     St. Louis, MO 63105                      $347.36
Comcast Business       Comcast                                 PO Box 35170                                                Seattle, WA 98124                         $16.00
Cox, Timothy           Timothy Cox                             916 West 78th Street                                        Kansas City, MO 64114                     $40.00
Culligan Water         Culligan Water Conditioning             1801 Commerce Ct                                            Columbia , MO 65202-3703               $1,035.73
Cummins Sales          Cummins Sales and Service               P.O. Box 842316                                             Dallas , TX 75284-2316                 $2,774.78
Downey, Lindsey        Cigna                                   PO Box 188061                                               Chattanooga, TN 37422-8061               $498.03
Dr. Park LLC           Dr. Park LLC                            C/O John Riddick, ASI           201 W. Boradway, Bldg #4C   Columbia, MO 65203                     $3,600.00
Dvorak, Rhonda         Med-Pay                                 P.O. Box 10909                                              Springfield, MO 65808                  $2,290.78
Dylan Corporate Serv   Dylan Corporate Services, Inc.          4000 W. 114th St. Ste. 140                                  Leawood, KS 66211                     $31,411.33
eScreen                eScreen, Inc                            PO Box 654094                                               Dallas, TX 75265-4094                    $213.00
EverBank               TIAA Bank                               PO Box 911608                                               Denver, CO 80291-1608                  $8,077.20
FarMor Media LLC       FarMor Media LLC                        PO Box 403                                                  Harrisonville, MO 64701              $262,121.00
Favorite Staffing      Favorite Healthcare Staffing, Inc.      P.O. Box 26225                                              Overland Park, KS 66213              $307,852.91
FireTech, LLC          FireTech, LLC                           1353 Baur Blvd                                              Olivette, MO 63132 USA                   $350.00
Forbes Law Group       Forbes Law Group                        6900 College Blvd               Ste 840                     Overland Park, KS 66211               $81,118.42
Gicinto, Joseph        BCBS                                    PO Box 419016                                               Kansas City, MO 64143                     $21.56
Great Western Bank     Great Western Bank                      10610 Shawnee Mission Pkwy                                  Shawnee, KS 66203 USA                  $4,059.00
Greene County Asses    Collector of Revenue, Leah Betts        940 North Boonville Avenue                                  Springfield, MO 65802                     $98.79
Hile, David            David Hile                              13212 W 170th street                                        Overland Park, KS 66221                   $79.39
Hoffmann Brothers      Hoffmann Brothers Heating & AC, Inc.    1025 Hanley Industrial                                      St. Louis, MO 63144 USA                  $514.00
Howell, Chad           Chad Howell                             7716 Fontana Street                                         Prairie Village, KS 66208                 $51.33
Hufford, John          John Hufford                            2806 Sacramento                                             St Joseph, MO 64507                      $339.84
In2itive, LLC          In2itive Business Solutions             6330 Sprint Pkwy, Ste 425                                   Overland Park, KS 66211 USA          $445,172.38
Integrated Science     Integrated Science Support, Inc         14464 N 169 Hwy                                             Smithville, MO 64089 USA               $5,410.00
Jarrell Mech Cont      Charles E. Jarrell Contracting Co INC   4208 Rider Trail North                                      Earth City, MO 63045 USA              $13,577.42
Kenco Fire Equipment   Kenco Fire Equipment, Inc               1810 E St Louis St                                          Springfield, MO 65802                     $35.00
LabCorp                Laboratory Corp of America Holdings     PO Box 12140                                                Burlington, NC 27216                  $20,469.90
Larose, George         Conventry Healthcare of Kansas          9401 Indian Creek Pkwy          Ste 1300                    Overland Park, KS 66210                  $990.69
LG III, LLC            LG III, LLC                             c/o The Wooten Company, LLC     1675 E Seminole St, Ste B   Springfield, MO 65804                  $6,113.36
Magers Elite Cleanin   Magers Elite Cleaning, LLC              2846 N. Neergard Ave.                                       Springfield, MO 65803                  $1,736.90
Marnell, Kevin         Kevin Marnell                           209 S Fenway Ave                                            Bartlesville, OK 74006                    $81.35
McCurley, William      Blue Cross and Blue Shield              P.O Box 105557                                              Atlanta, GA 30348                         $97.84
McKesson Medical       McKesson Medical Surgical               PO Box 933027                                               Atlanta, GA 31193-3027                $83,112.24
McNutt, Evonne         Evonne McNutt                           5043 E 7th St                                               Kansas City, MO 64124                     $40.00
Medline                Medline Industries, Inc                 DEPT 1080                       PO Box 121080               Dallas, TX 75312                     $319,966.21
MedTrainer             MedTrainer                              555 Cajon St                    Ste A                       Redlands, CA 92373 USA                 $1,817.97
Metro Air              Metro Air Conditioning Co               8151 Mccoy                                                  Shawnee, KS 66227                      $6,659.75
Midwest Compounders    Midwest Compounders Pharmacy            13330 Santa Fe Trail Drive                                  Lenexa, KS 66215                       $1,376.00
Nash, Cynthia          Cynthia Nash                            13211 Winchester Ave                                        Grandview , MO 64030                      $40.00
Owen, Shawn            Allied Benefit Systems, Inc.            200 West Adams                  Ste 500                     Chicago, IL 60606                        $117.70
Pay-LESS Office        Pay-LESS Office Products, Inc           PO Box 390157                                               Omaha, NE 68139                        $1,475.93
Pinnacle Plus          Pinnacle Plus                           9653 Twincrest Dr                                           Crestwood, MO 63126 USA                $1,375.00
Platte County Tax      Sheila L Palmer, Collector              Platte County Tax               415 Third St, Ste 40        Platte City, MO 64079                    $170.98
ProForma               Proforma                                P.O. Box 51925                                              Los Angeles, CA 90051-6225             $1,285.19
Property Valuation     Property Valuation Services             14400 Metcalf                                               Overland Park, KS 66223                $1,750.00
ProShred               Redishred Kansas Inc.                   3052 S 24th St                                              Kansas City, KS 66106                    $448.00
Quest Diagnostics      Quest Diagnostics                       PO BOX 772976                                               Chicago, IL 60677                     $28,358.56
Radsource Imaging      Radsource Imaging Technology, Inc       8121 NW 97th Terrace                                        Kansas City, MO 64153                 $34,272.37
Ricker, Scott          Scott Ricker                            3001 Cornell Drive                                          Hutchinson, KS 67502                      $50.00
Rojana Realty Invest   Rojana Realty Investment, Inc           PO Box 4770                                                 Olathe , KS 66063                  $1,713,777.15
Springfield Sign       Springfield Sign & Graphics, Inc        4825 E. Kearney Street                                      Springfield, MO 65803                  $5,267.23
Stericycle, Inc        Stericycle, Inc                         PO Box 6575                                                 carol stream, IL 60197                $19,146.52
Stryker                Stryker Sales Corp                      21343 Network Place                                         Chicago, IL 60673-1213               $176,681.37
Surency                Surency Life and Health                 PO Box 789773                                               Wichita, KS 67278-9773                   $296.10
Tallgrass Tech         Tallgrass Technologies                  14647 W. 95th Street                                        Lenexa , KS 66215                  $1,194,079.61
Vision Service Plan    Vision Service Plan - Connecticut       PO Box 742788                                               Los Angeles, CA 90074-2788             $3,396.60
White Oak Investors    White Oak Investors LLC                 PO Box 411299                                               Kansas City, MO 64141                  $1,565.03
Williams, Chris        Christopher Williams                    11300 W 136th St                Apt 313                     Overland Park, KS 66221 USA               $43.08
Windstream             Windstream                              P.O. Box 9001950                                            Louisville, KY 40290                  $22,620.09
TOTAL                                                                                                                                                         $4,881,916.14




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 Fill in this information to identify the case:

              Blue Valley Surgical Associates
 Debtor name __________________________________________________________________


                                         Kansas City
 United States Bankruptcy Court for the:______________________ District of     Kansas
                                                                               _______
                                                                              (State)
 Case number (If known):     20-20222
                            _________________________                         11
                                                                     Chapter _____



                                                                                                                                        " Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
                                                                                           See EX-G-ALL, attached hereto
       "   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       "  Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       ____________________________________             _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




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Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
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                                                                                                                                                      EX-G-ALL
                 Facility     Vendor ID                    Category           Vendor                               Address line 1                  Address line 2            City ST ZIP               Location            Physical address
                 BVSA         B.W.S.C., LLC                Rent               B.W.S.C., LLC                        c/o Rubenstein Real Estate Co   6310 Lamar, Ste 220       Overland Park, KS 66202   North Kansas City   8548 N Ambassador Dr. Kansas City, MO 64154
                 BVSA         Dr. Park LLC                 Rent               Dr. Park LLC                         C/O John Riddick, ASI           201 W. Boradway, Bldg #4C Columbia, MO 65203        Columbia            201 W Broadway Building 5, Suite B, Columbia, MO 65203
                 BVH          Karin Metcalf, LLC           Rent               Karin Metcalf, LLC                   PO Box 27250                                              Overland Park, KS 66225   OP Hospital         12850 Metcalf Ave, Overland Park, KS 66213
                 BVSA         LG III, LLC                  Rent               LG III, LLC                          c/o The Wooten Company, LLC     1675 E Seminole St, Ste B Springfield, MO 65804     Springfield         3238 S National Ave, Springfield, MO 65807
                 BVH          Southcreek Bldg              Rent               Southcreek Bldg I:II Associates LP   7200 W 132nd St, Ste 300                                  Overland Park, KS 66213   Admin               12920 Metcalf Ave, Overland Park, KS 66213
                 BVSA         White Oak Investors          Rent               White Oak Investors LLC              PO Box 411299                                             Kansas City, MO 64141     Blue Springs        1052 SW Luttrell RD Suite E, Blue Springs MO 64015
                 BVSA         Rojana Realty Invest         Rent               Rojana Realty Investment, Inc        PO Box 4770                                               Olathe , KS 66063         Florrisant          6829 Parker Rd. Florissant, MO 63033
                 BVSA         Rojana Realty Invest         Rent               Rojana Realty Investment, Inc        PO Box 4770                                               Olathe , KS 66063         St Louis            7220 Watson Rd St. Louis, MO 63119
                 BVSA         Rojana Realty Invest         Rent               Rojana Realty Investment, Inc        PO Box 4770                                               Olathe , KS 66063         Overland Park       12870-12880 Metcalf Ave, Overland Park, KS 66213
                 BVSA         Rojana Realty Invest         Rent               Rojana Realty Investment, Inc        PO Box 4770                                               Olathe , KS 66063         Nevada              13910 W. 54 HWY Nevada, MO 64722
                 BVH          Amundson                     Provider Contact
                 BVH          Bembynista                   Provider Contact
                 BVH          Conigilaro                   Provider Contact
                 BVH          Felton                       Provider Contact
                 BVH          Guillaume                    Provider Contact




Case 20-20219
                 BVH          Jones                        Provider Contact
                 BVH          Joseph                       Provider Contact
                 BVH          Margherita                   Provider Contact
                 BVH          McMurray                     Provider Contact
                 BVH          Nigro                        Provider Contact
                 BVH          Peterson                     Provider Contact
                 BVH          Pruitt                       Provider Contact
                 BVH          Putnam Orthopedics           Provider Contact
                 BVH          Rafie                        Provider Contact
                 BVH          Sabih                        Provider Contact
                 BVH          Sand                         Provider Contact




Doc# 159-1
                 BVH          Saurborn                     Provider Contact
                 BVH          Sigler                       Provider Contact
                 BVH          Timmer                       Provider Contact
                 BVH          Westhues                     Provider Contact
                 BVH          Winsby                       Provider Contact
                 BVH          Christina Frye               Labor Contact
                 BVH          Taylor, Lindsay              Labor Contact
                 BVH          Tower Physical Therapy       Labor Contact
                 BVH          Tallgrass                    IT Services
                 BVH          Terminal Cleaning Services   Labor Contact




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    Blue Valley Surgical Associates, LLC

      Kansas City                  Kansas




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